
691 S.E.2d 414 (2010)
STATE of North Carolina
v.
Robert Gregory BOYD.
No. 430P09.
Supreme Court of North Carolina.
January 28, 2010.
Ryan McKaig, for Robert Gregory Boyd.
Angenette Stephenson, Assistant Attorney General, for State.
Prior report: ___ N.C.App. ___, 682 S.E.2d 463.

ORDER
Upon consideration of the petition filed on the 15th of October 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*415 "Denied by order of the Court in conference, this the 28th of January 2010."
